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8                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10

11    UNITED STATES OF AMERICA,                )    Case No.: 2:21-CV-06968-RGK-MAR
                                               )
12                 Plaintiff,                  )    CLAIMANT MICHAEL MAGEE’S
                                               )    VERIFIED ANSWER TO
13          vs.                                )    COMPLAINT FOR FORFEITURE;
                                               )    DEMAND FOR JURY TRIAL
14    $305,000 in United States Currency,      )
                                               )
15                 Defendant.                  )
                                               )
16                                             )
                                               )
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19          Claimant Michael Magee (“Claimant”), reserving all constitutional rights,
20    hereby answers the Government’s verified Complaint for Forfeiture (“Complaint”)
21    in the above action as follows. Any allegation not specifically admitted herein
22    should be considered denied.
23

24          1. In response to the allegations contained in Paragraph 1 of the Complaint,
25    Claimant admits that this is a civil forfeiture action under 18 U.S.C.
26    § 981(a)(1)(A), but denies the allegations against him.
27          2. In response to the allegations contained in Paragraph 2 of the Complaint,
28    Claimant does not contest this Court’s jurisdiction, but denies the allegations
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      against him.
2           3. In response to the allegations contained in Paragraph 3 of the Complaint,
3     Claimant does not contest venue, but denies the allegations against him.
4           4. In response to the allegations contained in Paragraph 4 of the Complaint,
5     Claimant admits the allegations contained therein.
6           5. In response to the allegations contained in Paragraph 5 of the Complaint,
7     Claimant admits the allegations contained therein.
8           6. In response to the allegations contained in Paragraph 6 of the Complaint,
9     Claimant lacks sufficient information to form a belief as to the truth of the
10    allegations contained therein and therefore denies.
11          7. In response to the allegations contained in Paragraph 7 of the Complaint,
12    Claimant admits the allegations contained therein.
13          8. In response the allegations contained in Paragraph 8 of the Complaint,
14    the allegations are not directed to Claimant, the allegations are vague and
15    ambiguous, and Claimant lacks sufficient information to form a belief as to the
16    truth of the allegations contained therein and therefore denies.
17          9. In response the allegations contained in Paragraph 9 of the Complaint,
18    the allegations are not directed to Claimant, the allegations are vague and
19    ambiguous, and Claimant lacks sufficient information to form a belief as to the
20    truth of the allegations contained therein and therefore denies.
21          10. In response the allegations contained in Paragraph 10 of the Complaint,
22    the allegations are not directed to Claimant, the allegations are vague and
23    ambiguous, and Claimant lacks sufficient information to form a belief as to the
24    truth of the allegations contained therein and therefore denies.
25          11. In response the allegations contained in Paragraph 11 of the Complaint,
26    the allegations are not directed to Claimant, the allegations are vague and
27    ambiguous, and Claimant lacks sufficient information to form a belief as to the
28    truth of the allegations contained therein and therefore denies.
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2           12. In response the allegations contained in Paragraph 12 of the Complaint,
3     the allegations are not directed to Claimant, the allegations are vague and
4     ambiguous, and Claimant lacks sufficient information to form a belief as to the
5     truth of the allegations contained therein and therefore denies.
6           13. In response the allegations contained in Paragraph 13 of the Complaint,
7     the allegations are not directed to Claimant, the allegations are vague and
8     ambiguous, and Claimant lacks sufficient information to form a belief as to the
9     truth of the allegations contained therein and therefore denies.
10          14. In response the allegations contained in Paragraph 14 of the Complaint,
11    the allegations are not directed to Claimant, the allegations are vague and
12    ambiguous, and Claimant lacks sufficient information to form a belief as to the
13    truth of the allegations contained therein and therefore denies.
14          15. In response the allegations contained in Paragraph 15 of the Complaint,
15    the allegations are not directed to Claimant, the allegations are vague and
16    ambiguous, and Claimant lacks sufficient information to form a belief as to the
17    truth of the allegations contained therein and therefore denies.
18          16. In response the allegations contained in Paragraph 16 of the Complaint,
19    the allegations are not directed to Claimant, and Claimant lacks sufficient
20    information to form a belief as to the truth of the allegations contained therein and
21    therefore denies.
22          17. In response the allegations contained in Paragraph 17 of the Complaint,
23    the allegations are not directed to Claimant, and Claimant lacks sufficient
24    information to form a belief as to the truth of the allegations contained therein and
25    therefore denies.
26          18. In response the allegations contained in Paragraph 18 of the Complaint,
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      the allegations are not directed to Claimant, and Claimant lacks sufficient
2     information to form a belief as to the truth of the allegations contained therein and
3     therefore denies.
4           19. In response to the allegations contained in Paragraph 19 of the
5     Complaint, Claimant denies.
6           20. In response to the allegations contained in Paragraph 20 of the
7     Complaint, Claimant admits that the defendant currency was inside his box, that he
8     was convicted in 1996 and sentenced to 247 months imprisonment followed by 5
9     years of supervised release, but denies that he has a significant criminal history.
10          21. In response to the allegations contained in Paragraph 21 of the
11    Complaint, Claimant denies.
12          22. In response to the allegations contained in Paragraph 22 of the
13    Complaint, Claimant denies.
14          23. In response to the allegations contained in Paragraph 23 of the
15    Complaint, Claimant denies.
16          24. In response to the allegations contained in Paragraph 24 of the
17    Complaint, the allegations are vague and ambiguous, and Claimant lacks sufficient
18    information to form a belief as to the truth of the allegations contained therein and
19    therefore denies
20          25. In response to the allegations contained in Paragraph 25 of the
21    Complaint, the allegations are vague and ambiguous, and Claimant lacks sufficient
22    information to form a belief as to the truth of the allegations contained therein and
23    therefore denies
24          26. Paragraph 26 of the Complaint does not require a response.
25          27. Paragraph 27 of the Complaint asserts legal propositions, which
26    Claimant contests and denies.
27          28. Paragraph 28 of the Complaint does not require a response.
28          29. Paragraph 29 of the Complaint asserts legal propositions, which
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      Claimant contests and denies.
2           30. Paragraph 30 of the Complaint does not require a response.
3           31. Paragraph 31 of the Complaint asserts legal propositions, which
4     Claimant contests and denies.
5           32. Paragraph 32 of the Complaint does not require a response.
6           33. Paragraph 33 of the Complaint asserts legal propositions, which
7     Claimant contests and denies.
8                            FIRST AFFIRMATIVE DEFENSE
9                                  (Failure to State a Claim)
10          34. As a separate and distinct affirmative defense to the Complaint,
11    Claimant is informed and believes and on that basis states and alleges that the
12    Complaint does not state facts sufficient to state a claim for forfeiture of the
13    Defendant Property.
14                          SECOND AFFIRMATIVE DEFENSE
15                                 (Lack of Probable Cause)
16          35. As a separate and distinct affirmative defense to the Complaint,
17    Claimant is informed and believes and on that basis states and alleges that Plaintiff
18    lacks probable cause for seizing the Defendant Property and instituting this
19    forfeiture Action.
20                           THIRD AFFIRMATIVE DEFENSE
21                                     (Innocent Owner)
22          36. As a separate and distinct affirmative defense to the Complaint,
23    Claimant is an innocent owner of the Defendant Property.
24                          FOURTH AFFIRMATIVE DEFENSE
25                                           (Laches)
26          37. As a separate and distinct affirmative defense to the Complaint,
27    Claimant is informed and believes and on that basis states and alleges that pursuant
28    to the Due Process Clause of the United States Constitution and Plaintiff’s
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      statutory obligation to initiate this action promptly from the time of discovery of
2     facts alleged to give rise to the Government’s claim, Plaintiff is now barred from
3     bringing this forfeiture action by its unnecessary delay.
4                            FIFTH AFFIRMATIVE DEFENSE
5                                         (Due Process)
6            38. As a separate and distinct affirmative defense to the Complaint,
7     Claimant is informed and believes and on that basis states and alleges that the
8     Government’s forfeiture claim is void and unenforceable as violative of the United
9     States Constitution in that Claimant was denied notice and opportunity to be heard
10    prior to the seizure of the Defendant Property or the initiation of this forfeiture
11    action in violation of the Due Process Clause of the Fifth Amendment to the
12    United States Constitution.
13                           SIXTH AFFIRMATIVE DEFENSE
14                            (Unreasonable Search and Seizure)
15           39. As a separate and distinct affirmative defense to the Complaint,
16    Claimant is informed and believes and on that basis states and alleges that the
17    Government’s forfeiture claim is void and unenforceable as violative of the United
18    States Constitution in that Claimant’s property was subject to unreasonable search
19    and/or seizure in violation of the Fourth Amendment of the United States
20    Constitution.
21                         SEVENTH AFFIRMATIVE DEFENSE
22                                      (Unclean Hands)
23           40. As a separate and distinct affirmative defense to the Complaint,
24    Claimant is informed and believes and on that basis states and alleges that the
25    Government’s forfeiture claim is barred by the doctrine of unclean hands and
26    illegality.
27                          EIGHTH AFFIRMATIVE DEFENSE
28                                    (Eighth Amendment)
                                                 6
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            41. As a separate and distinct affirmative defense to the Complaint,
2     Claimant is informed and believes and on that basis states and alleges that
3     Plaintiff’s forfeiture claim is barred by the Eighth Amendment’s Cruel and
4     Unusual Punishment Clause because the penalty of forfeiture would be
5     disproportionate to the offense alleged in the Complaint.
6                            NINTH AFFIRMATIVE DEFENSE
7                                      (Punitive Measure)
8           42. As a separate and distinct affirmative defense to the Complaint,
9     Claimant is informed and believes and on that basis states and alleges that
10    Plaintiff’s claim is barred because it is a punitive, rather than remedial, measure..
11                           TENTH AFFIRMATIVE DEFENSE
12                               (Incorporates Previous Claim)
13          43. As a separate and distinct affirmative defense to the Complaint,
14    Claimant has previously filed a Claim to the Defendant Property and incorporates
15    and asserts by reference all rights and interests as set forth in the claim.
16                        ELEVENTH AFFIRMATIVE DEFENSE
17                                    (Additional Defenses)
18          44. As a separate and distinct affirmative defense to the Complaint,
19    Claimant reserves the right to amend his Answer to Complaint as appropriate,
20    including but not limited to pleading additional affirmative defenses as further
21    facts and information is discovered by Claimant in this action.
22                               DEMAND FOR JURY TRIAL
23          Pursuant to Federal Rule of Civil Procedure 38(b) and Local Rule 3-6,
24    Claimant demands a jury trial on all issues so triable.
25

26          WHEREFORE, Claimant Michael Magee prays for judgment as follows:
27       1. For dismissal of the Complaint with prejudice and the entry of judgment in
28          favor of Claimant;
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         2. That the Defendant Property seized by Plaintiff, and any fruits thereof, be
2           ordered released and surrendered to Claimant;
3        3. For costs of suit and attorneys’ fees as allowed by law; and
4        4. For such other and further relief in favor of Claimant as this Court deems
5           proper and just.
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7       Dated: November 3, 2021             Respectfully submitted,
8                                           /s/ Michael G. Freedman_______
9                                           Michael G. Freedman
                                            Attorney for Claimant
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